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7                               UNITED STATES DISTRICT COURT
8                              CENTRAL DISTRICT OF CALIFORNIA
9
10    NANCY JANE GEIGER,                    )      NO. SACV 19-02299-CAS (AGR)
                                            )
11                        Plaintiff,        )
                                            )      JUDGMENT
12        v.                                )
                                            )
13    TRAVIS MOSSBROOKS, et al.,            )
                                            )
14                        Defendant.        )
                                            )
15
16             Pursuant to the Order Accepting Findings and Recommendation of United
17    States Magistrate Judge,
18             IT IS ADJUDGED that Defendants’ motion for summary judgment is granted
19    and the entire action is dismissed with prejudice.
20
21    DATED: October 15, 2021               __________________________________
                                                  CHRISTINA A. SNYDER
22                                                United States District Judge
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